Case 2:90-cv-00520-KJM-SCR   Document 6770   Filed 07/15/20   Page 1 of 9
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION
                Case 2:90-cv-00520-KJM-SCR                          Document 6770   Filed 07/15/20   PageGAVIN
                                                                                                           2 ofNEWSOM, GOVERNOR
                                                                                                                  9
OFFICE OF LEGAL AFFAIRS
Jennifer Neill
General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001




           VIA ELECTRONIC MAIL ONLY




           /s/ Melissa C. Bentz
Case 2:90-cv-00520-KJM-SCR   Document 6770   Filed 07/15/20   Page 3 of 9
  Case 2:90-cv-00520-KJM-SCR                Document 6770        Filed 07/15/20     Page 4 of 9




All,

Attached are the following reports:

       1)   Shower and Yard in Segregation Compliance for June 2020
       2)   Tier Report (7/6 – 7/10/20)
       3)   TMHU/TIP Roster (7/6 – 7/10/20)
       4)   TMHU 114-A Tracing Log June 2020

CDCR will begin preparing redacted forms of these and prior reports referenced in the draft
stipulation for inclusion in the Wednesday filing.

Nick Weber
Attorney
Department of Corrections & Rehabilitation
1515 S Street, Suite 314S
Sacramento, CA 95811-7243
(916) 323-3202
Case 2:90-cv-00520-KJM-SCR   Document 6770   Filed 07/15/20   Page 5 of 9
Case 2:90-cv-00520-KJM-SCR   Document 6770   Filed 07/15/20   Page 6 of 9
Case 2:90-cv-00520-KJM-SCR   Document 6770   Filed 07/15/20   Page 7 of 9
                                                                                                                                                                             PC                   MHMD
                                    Patient                                                           Clinical                                           TMHU     PC         Contact MHMD         Contact               RT        Group         Group   Group                           Non Conf              1st     2nd
Date       Region     Institution   Code         Program   Sub Program   MHI     Referral Date Time LOS           TMHU Placement Date TMHU Enddate LOS            Contact Conf        Contact Conf           IDTT       Contact Attended Refused Offered        Total Offered Conf Hour Hour      Cell Front Rounding Rounding
  7/7/2020 Region I   FSP           Patient 1    ASU       ASU           MHCB         7/7/2020 14:03         6.83         7/7/2020 15:40 7/13/2020 14:00     5.93                                            09:00:00 Standard Conf for 0.08 0Hours   0       0               0
  7/8/2020 Region I   FSP           Patient 1    ASU       ASU           MHCB          7/7/2020 14:03        6.83         7/7/2020 15:40 7/13/2020 14:00     5.93 10:12:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.10 Hours                                    0        0       0             0.2               0.2         0.2
  7/9/2020 Region I   FSP           Patient 1    ASU       ASU           MHCB         7/7/2020 14:03         6.83         7/7/2020 15:40 7/13/2020 14:00     5.93 11:41:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.07 Hours                                    0        0       0            0.07              0.07        0.07
 7/10/2020 Region I   FSP           Patient 1    ASU       ASU           MHCB          7/7/2020 14:03        6.83         7/7/2020 15:40 7/13/2020 14:00     5.93 08:46:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.08 Hours                                    0        0       0            0.08              0.08        0.08
 7/11/2020 Region I   FSP           Patient 1    ASU       ASU           MHCB          7/7/2020 14:03        6.83         7/7/2020 15:40 7/13/2020 14:00     5.93                     13:15:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.25 Hours                    0        0       0            0.25              0.25        0.25
 7/12/2020 Region I   FSP           Patient 1    ASU       ASU           MHCB          7/7/2020 14:03        6.83         7/7/2020 15:40 7/13/2020 14:00     5.93                     11:15:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.25 Hours                    0        0       0            0.25              0.25        0.25
 7/13/2020 Region I   FSP           Patient 1    ASU       ASU           MHCB          7/7/2020 14:03        6.83         7/7/2020 15:40 7/13/2020 14:00     5.93 11:20:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.08 Hours                                    0        0       0            0.08              0.08        0.08
  7/6/2020 Region I   MCSP          Patient 2    ASU       ASUHub        MHCB           7/5/2020 4:40        3.27          7/5/2020 5:20                      9.2 08:00:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.08 Hours                                    0        0       0            0.08              0.08        0.08
  7/7/2020 Region I   MCSP          Patient 2    ASU       ASUHub        MHCB           7/5/2020 4:40        3.27          7/5/2020 5:20                      9.2 08:25:00 CellFront  11:11:00
                                                                                                                                                                             NonCofNonConf for 0.17
                                                                                                                                                                                                CellFront
                                                                                                                                                                                                     HoursNonCof 0.05 Hours
                                                                                                                                                                                                  NonCof                                     0        0       0            0.22              0.22        0.22
  7/8/2020 Region I   MCSP          Patient 2    ASU       ASUHub        MHCB           7/5/2020 4:40        3.27          7/5/2020 5:20                      9.2 09:05:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours 10:00:00 Standard Conf for 0.33 0Hours      0       0            0.25              0.25        0.25
  7/6/2020 Region I   SAC           Patient 3    ASU       NDS           ACUTE         7/2/2020 14:58        11.8        5/27/2020 20:37                    47.56                                                                            0        0       0               0
  7/7/2020 Region I   SAC           Patient 3    ASU       NDS           ACUTE         7/2/2020 14:58        11.8        5/27/2020 20:37                    47.56                                                                            0        0       0               0
  7/8/2020 Region I   SAC           Patient 3    ASU       NDS           ACUTE         7/2/2020 14:58        11.8        5/27/2020 20:37                    47.56                     07:51:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.07 Hours                    0        0       0            0.07              0.07        0.07
  7/9/2020 Region I   SAC           Patient 3    ASU       NDS           ACUTE         7/2/2020 14:58        11.8       5/27/2020 20:37                     47.56 11:00:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                    0        0       0            0.17              0.17        0.17
 7/10/2020 Region I   SAC           Patient 3    ASU       NDS           ACUTE         7/2/2020 14:58        11.8       5/27/2020 20:37                     47.56                                                                            0        0       0               0
 7/11/2020 Region I   SAC           Patient 3    ASU       NDS           ACUTE         7/2/2020 14:58        11.8       5/27/2020 20:37                     47.56 10:15:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                    0        0       0            0.25              0.25        0.25
 7/12/2020 Region I   SAC           Patient 3    ASU       NDS           ACUTE         7/2/2020 14:58        11.8       5/27/2020 20:37                     47.56 09:45:00 CellFront
                                                                                                                                                                             NonCofNonConf for 1.25 Hours                                    0        0       0            1.25              1.25        1.25
                                                                                                                                                                                                                                                                                                                        Case 2:90-cv-00520-KJM-SCR




 7/13/2020 Region I   SAC           Patient 3    ASU       NDS           ACUTE         7/2/2020 14:58        11.8       5/27/2020 20:37                     47.56                                                                            0        0       0               0
  7/6/2020 Region I   SAC           Patient 4    MHCB      MCB           MHCB        6/30/2020 23:38         6.48          7/1/2020 2:30 7/6/2020 12:51      5.43 10:20:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                    0        0       0            0.17              0.17        0.17
  7/6/2020 Region I   SAC           Patient 5    ASU       NDS           MHCB        6/30/2020 15:32        13.77       6/30/2020 19:52 7/6/2020 13:03       5.72 10:50:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                    0        0       0            0.17              0.17        0.17
  7/6/2020 Region I   SAC           Patient 6    ASU       ASUHub        MHCB           7/6/2020 9:17        8.03         7/6/2020 11:01 7/8/2020 15:52       2.2 08:45:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                    0        0       0             0.5               0.5         0.5
  7/7/2020 Region I   SAC           Patient 6    PSU       PSU           MHCB           7/6/2020 9:17        8.03         7/6/2020 11:01 7/8/2020 15:52       2.2                     10:00:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.83 Hours                    0        0       0            0.83              0.83        0.83
  7/8/2020 Region I   SAC           Patient 6    PSU       PSU           MHCB           7/6/2020 9:17        8.03         7/6/2020 11:01 7/8/2020 15:52       2.2                     07:30:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.50 Hours                    0        0       0             0.5               0.5         0.5
  7/6/2020 Region I   SAC           Patient 7    ASU       NDS           ICF           5/1/2020 15:37       73.77       6/16/2020 20:43                     27.56                                                                            0        0       0               0
  7/7/2020 Region I   SAC           Patient 7    PSU       PSU           ICF           5/1/2020 15:37       73.77       6/16/2020 20:43                     27.56 11:20:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                    0        0       0            0.17              0.17        0.17
  7/8/2020 Region I   SAC           Patient 7    ASU       NDS           ICF          5/1/2020 15:37        73.77       6/16/2020 20:43                     27.56                     07:46:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.07 Hours                    0        0       0            0.07              0.07        0.07
  7/9/2020 Region I   SAC           Patient 7    ASU       NDS           ICF           5/1/2020 15:37       73.77       6/16/2020 20:43                     27.56 10:40:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                    0        0       0            0.17              0.17        0.17
 7/10/2020 Region I   SAC           Patient 7    ASU       NDS           ICF           5/1/2020 15:37       73.77       6/16/2020 20:43                     27.56                                                                            0        0       0               0
 7/11/2020 Region I   SAC           Patient 7    ASU       NDS           ICF           5/1/2020 15:37       73.77       6/16/2020 20:43                     27.56 10:00:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                    0        0       0            0.25              0.25        0.25
 7/12/2020 Region I   SAC           Patient 7    ASU       NDS           ICF           5/1/2020 15:37       73.77       6/16/2020 20:43                     27.56 09:30:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                    0        0       0            0.25              0.25        0.25
 7/13/2020 Region I   SAC           Patient 7    ASU       NDS           ICF           5/1/2020 15:37       73.77       6/16/2020 20:43                     27.56                                                                            0        0       0               0
  7/9/2020 Region I   SAC           Patient 8    ASU       ASU           MHCB         7/8/2020 22:34         5.48          7/9/2020 0:30                      5.4                     08:30:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.75 Hours                    0        0       0            0.75              0.75        0.75
                                                                                                                                                                                                                                                                                                                        Document 6770




 7/10/2020 Region I   SAC           Patient 8    ASU       NDS           MHCB          7/8/2020 22:34        5.48          7/9/2020 0:30                      5.4 09:15:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                    0        0       0               1                 1           1
 7/11/2020 Region I   SAC           Patient 8    ASU       NDS           MHCB          7/8/2020 22:34        5.48          7/9/2020 0:30                      5.4 09:45:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                    0        0       0            0.42              0.42        0.42
 7/12/2020 Region I   SAC           Patient 8    ASU       NDS           MHCB          7/8/2020 22:34        5.48          7/9/2020 0:30                      5.4                     11:15:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.42 Hours                    0        0       0            0.42              0.42        0.42
 7/13/2020 Region I   SAC           Patient 8    ASU       NDS           MHCB          7/8/2020 22:34        5.48          7/9/2020 0:30                      5.4 07:25:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.08 Hours                                    0        0       0            0.08              0.08        0.08
  7/6/2020 Region I   SAC           Patient 9    ASU       NDS           MHCB           7/5/2020 3:10        9.29          7/5/2020 3:50                     9.26 11:20:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                    0        0       0            0.17              0.17        0.17
  7/7/2020 Region I   SAC           Patient 9    ASU       NDS           MHCB           7/5/2020 3:10        9.29          7/5/2020 3:50                     9.26 11:50:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours 12:00:00 Standard Conf for 0.25 0Hours      0       0            0.17              0.17        0.17
  7/8/2020 Region I   SAC           Patient 9    ASU       NDS           MHCB           7/5/2020 3:10        9.29          7/5/2020 3:50                     9.26 10:30:00 CellFront  08:01:00
                                                                                                                                                                             NonCofNonConf for 0.25
                                                                                                                                                                                                CellFront
                                                                                                                                                                                                     HoursNonCof 0.07 Hours
                                                                                                                                                                                                  NonCof                                     0        0       0            0.32              0.32        0.32
  7/9/2020 Region I   SAC           Patient 9    ASU       NDS           MHCB           7/5/2020 3:10        9.29          7/5/2020 3:50                     9.26                     10:05:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.33 Hours                    0        0       0            0.33              0.33        0.33
 7/10/2020 Region I   SAC           Patient 9    ASU       NDS           MHCB           7/5/2020 3:10        9.29          7/5/2020 3:50                     9.26 10:45:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                    0        0       0            0.25              0.25        0.25
 7/11/2020 Region I   SAC           Patient 9    ASU       NDS           MHCB           7/5/2020 3:10        9.29          7/5/2020 3:50                     9.26 10:10:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                    0        0       0            0.17              0.17        0.17
 7/12/2020 Region I   SAC           Patient 9    ASU       NDS           MHCB           7/5/2020 3:10        9.29          7/5/2020 3:50                     9.26 11:15:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                    0        0       0            0.25              0.25        0.25
 7/13/2020 Region I   SAC           Patient 9    ASU       NDS           MHCB           7/5/2020 3:10        9.29          7/5/2020 3:50                     9.26                     11:30:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.25 Hours                    0        0       0            0.25              0.25        0.25
  7/6/2020 Region I   SAC           Patient 10   ASU       NDS           MHCB          7/1/2020 11:03        5.14         7/1/2020 12:55 7/6/2020 18:40      5.24 11:40:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours 12:00:00 Standard Conf for 0.25 0Hours      0       0            0.17              0.17        0.17
  7/6/2020 Region I   SAC           Patient 11   PSU       PSU           MHCB          7/5/2020 11:11        8.95         7/5/2020 13:03 7/8/2020 15:39      3.11                                                                            0        0       0               0
                                                                                                                                                                                                                                                                                                                        Filed 07/15/20




  7/7/2020 Region I   SAC           Patient 11   PSU       PSU           MHCB          7/5/2020 11:11        8.95         7/5/2020 13:03 7/8/2020 15:39      3.11 11:10:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours 12:46:00 Standard Conf for 0.23 0Hours      0       0            0.17              0.17        0.17
  7/8/2020 Region I   SAC           Patient 11   ASU       NDS           MHCB          7/5/2020 11:11        8.95         7/5/2020 13:03 7/8/2020 15:39      3.11                                                                            0        0       0               0
  7/6/2020 Region I   SAC           Patient 12   MHCB      MCB           MHCB        6/30/2020 20:20         8.69        6/30/2020 22:54                    13.46 10:30:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                    0        0       0            0.17              0.17        0.17
  7/7/2020 Region I   SAC           Patient 12   MHCB      MCB           MHCB        6/30/2020 20:20         8.69       6/30/2020 22:54                     13.46 11:40:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                    0        0       0            0.17              0.17        0.17
  7/8/2020 Region I   SAC           Patient 12   MHCB      MCB           MHCB        6/30/2020 20:20         8.69       6/30/2020 22:54                     13.46                     12:30:00 CellFront
                                                                                                                                                                                                  NonCofNonCof 0.67 Hours                    0        0       0            0.67              0.67        0.67
  7/9/2020 Region I   SAC           Patient 12   MHCB      MCB           MHCB        6/30/2020 20:20         8.69       6/30/2020 22:54                     13.46                                                                            0        0       0               0
 7/10/2020 Region I   SAC           Patient 12   ASU       NDS           ACUTE         7/9/2020 12:55        4.88        6/30/2020 22:54                    13.46                                                                            0        0       0               0
 7/11/2020 Region I   SAC           Patient 12   ASU       NDS           ACUTE         7/9/2020 12:55        4.88        6/30/2020 22:54                    13.46 09:15:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                    0        0       0            0.25              0.25        0.25
                                                                                                                                                                                                                                                                                                                        Page 8 of 9




                                                                                                                                                             Page 1 of 2
                                                                                                                                                                             PC                    MHMD
                                     Patient                                                           Clinical                                          TMHU     PC         Contact MHMD          Contact                 RT      Group         Group   Group                            Non Conf              1st         2nd
Date       Region      Institution   Code         Program   Sub Program   MHI     Referral Date Time LOS           TMHU Placement Date TMHU Enddate LOS           Contact Conf        Contact Conf            IDTT         Contact Attended Refused Offered      Total Offered Conf Hour Hour       Cell Front Rounding Rounding
7/12/2020 Region I     SAC           Patient 12   ASU       NDS           ACUTE        7/9/2020 12:55         4.88       6/30/2020 22:54                    13.46                                                                            0         0       0               0
7/13/2020 Region I     SAC           Patient 12   ASU       NDS           ACUTE        7/9/2020 12:55         4.88       6/30/2020 22:54                    13.46                                                                            0         0       0               0
  7/6/2020 Region I    SAC           Patient 13   ASU       NDS           ACUTE       6/29/2020 13:22       14.86        6/16/2020 15:54                    27.76                                                                            0         0       0               0
  7/7/2020 Region I    SAC           Patient 13   ASU       NDS           ACUTE       6/29/2020 13:22       14.86        6/16/2020 15:54                    27.76 10:50:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.17 Hours                                     0        0       0            0.17               0.17        0.17
  7/8/2020 Region I    SAC           Patient 13   ASU       NDS           ACUTE       6/29/2020 13:22        14.86       6/16/2020 15:54                    27.76 10:15:00 CellFront  08:06:00
                                                                                                                                                                             NonCofNonConf  for 0.25
                                                                                                                                                                                                 CellFront
                                                                                                                                                                                                      HoursNonCof 0.07 Hours
                                                                                                                                                                                                   NonCof                                     0        0       0            0.32               0.32        0.32
  7/9/2020 Region I    SAC           Patient 13   ASU       NDS           ACUTE       6/29/2020 13:22        14.86       6/16/2020 15:54                    27.76                                                                             0        0       0               0
 7/10/2020 Region I    SAC           Patient 13   ASU       NDS           ACUTE       6/29/2020 13:22        14.86        6/16/2020 15:54                   27.76 08:45:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                     0        0       0            0.25               0.25        0.25
 7/11/2020 Region I    SAC           Patient 13   ASU       NDS           ACUTE       6/29/2020 13:22        14.86       6/16/2020 15:54                    27.76 09:00:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                     0        0       0            0.25               0.25        0.25
 7/12/2020 Region I    SAC           Patient 13   ASU       NDS           ACUTE       6/29/2020 13:22        14.86       6/16/2020 15:54                    27.76 11:00:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                     0        0       0            0.25               0.25        0.25
 7/13/2020 Region I    SAC           Patient 13   ASU       NDS           ACUTE       6/29/2020 13:22        14.86       6/16/2020 15:54                    27.76                     11:00:00 CellFront
                                                                                                                                                                                                   NonCofNonCof 0.25 Hours                    0        0       0            0.25               0.25        0.25
  7/6/2020 Region II   SVSP          Patient 14   ML        SNY           ICF         6/22/2020 17:16         21.7       6/12/2020 13:19 7/9/2020 11:04     26.91 11:20:00 Standard
                                                                                                                                                                             Conf Conf for 0.42 Hours         12:00:00 Standard Conf for 0.25 0Hours   0       0            0.42     0.42
  7/7/2020 Region II   SVSP          Patient 14   ML        SNY           ICF         6/22/2020 17:16         21.7        6/12/2020 13:19 7/9/2020 11:04    26.91 10:20:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.33 Hours                                     0        0       0            0.33               0.33        0.33
  7/8/2020 Region II   SVSP          Patient 14   ML        SNY           ICF         6/22/2020 17:16         21.7       6/12/2020 13:19 7/9/2020 11:04     26.91 16:08:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.25 Hours                                     0        0       0            0.25               0.25        0.25 RT at 10:00
  7/9/2020 Region II   SVSP          Patient 14   ML        SNY           ICF         6/22/2020 17:16         21.7       6/12/2020 13:19 7/9/2020 11:04     26.91 08:03:00 CellFront  11:30:00
                                                                                                                                                                             NonCofNonConf  for 0.28
                                                                                                                                                                                                 Standard
                                                                                                                                                                                                      HoursConf for 1.00 Hours
                                                                                                                                                                                                   Conf                                       0        0       0            1.28        1      0.28        0.28
  7/6/2020 Region II   SVSP          Patient 15   ML        SNY           ICF           7/2/2020 13:18       11.86       6/12/2020 19:24 7/8/2020 18:04     25.94 08:30:00 CellFront
                                                                                                                                                                             NonCofNonConf for 0.42 Hours                                     0        0       0            0.42               0.42        0.42
  7/7/2020 Region II   SVSP          Patient 15   ML        SNY           ICF          7/2/2020 13:18        11.86       6/12/2020 19:24 7/8/2020 18:04     25.94 15:10:00 Standard
                                                                                                                                                                             Conf Conf for 0.67 Hours                                         0        0       0            1.33     1.33
  7/8/2020 Region II   SVSP          Patient 15   ML        SNY           ICF          7/2/2020 13:18        11.86       6/12/2020 19:24 7/8/2020 18:04     25.94 15:03:00 Standard
                                                                                                                                                                             Conf Conf for 1.02 Hours                                         0        0       0            1.02     1.02                       RT at 10:00
                                                                                                                                                                                                                                                                                                                          Case 2:90-cv-00520-KJM-SCR




                                                                                                                                                                                                                                                      Average
                                                                                                                                                                                                                                                       Total
                                                                                                                                                                                                                                                      Offered       0.27
                                                                                                                                                                                                                                                                                                                          Document 6770
                                                                                                                                                                                                                                                                                                                          Filed 07/15/20
                                                                                                                                                                                                                                                                                                                          Page 9 of 9




                                                                                                                                                              Page 2 of 2
